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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   WAYMO LLC,
                                                                         11
United States District Court




                                                                                            Plaintiff,                                 No. C 17-00939 WHA
                               For the Northern District of California




                                                                         12     v.
                                                                         13   UBER TECHNOLOGIES, INC.;                                 REQUEST FOR RESPONSE
                                                                         14   OTTOMOTTO LLC; and
                                                                              OTTO TRUCKING LLC,
                                                                         15                 Defendants.
                                                                         16                                    /

                                                                         17          By NOON ON DECEMBER 19, will each side respond to the other side’s submission today
                                                                         18   with respect to whether or not Waymo properly preserved a claim for damages based solely on
                                                                         19   acquisition. The Court reminds counsel their duty of candor.
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                                                                         21          IT IS SO ORDERED.
                                                                         22
                                                                         23   Dated: December 18, 2017.
                                                                         24                                                     WILLIAM ALSUP
                                                                                                                                UNITED STATES DISTRICT JUDGE
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